         Case 2:15-cr-00133-SMJ                           ECF No. 38               filed 12/22/15   PageID.105 Page 1 of 1



                                                                                                               FILED IN THE
                                                                                                           U.S. DISTRICT COURT
1                                                                                                    EASTERN DISTRICT OF WASHINGTON




2                                                                                                    Dec 22, 2015
                                                                                                          SEAN F. MCAVOY, CLERK


3                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                                                      No. 2:15-CR-0133-SMJ-1
5
                                                     Plaintiff,
6                                                                                   ORDER
                             v.
7
     GILNER ERNESTO GARCIA,
8
                                                     Defendant.
9

10               Before the Court, without oral argument, is the United States Attorney's

11   Office's Unopposed Motion for Discovery Protective Order, ECF No. 37. The

12   Court is fully informed and grants the motion.

13               Accordingly, IT IS HEREBY ORDERED: USAO's Unopposed Motion

14   for Discovery Protective Order, ECF No. 37, is GRANTED. The Court enters

15   the discovery protective order at ECF No. 37-1.

16               IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

17   and provide copies to all counsel.

18               DATED this 22nd day of December 2015.

19

20                                       SALVADOR MENDOZA, JR.
                                         United States District Judge

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     ORDER - 1
